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R€vzsea 03/06 WDNY UNlTED S”l`ATES DlSTRlCT COUR

FORl\/l TO BE USED lN FILING A COMPLAIN
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983

(Prisoner Complaint Fonn) m §
twin f ' '

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l. CAPTION OF ACTION

 

A. F\lll Nam€ Alld Pl‘iSOn€l‘ Nllmb€l‘ Of Plai!lfiff! NOTE.` If)nore than one plainti]ffiles this action and seeks in forma
pauperis status, each plaintijj”must submit an in forma pauperis application and a signed Authorization or the only plaintzf'to be
considered will be the plaintijfwho filed an application and Authorization.

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2.

 

_VS_

B. F\lll NHm€(S) OfD€fel‘ldallf(S) NOTEZ Pursuanl to Fed.R.Civ.P. lO(a), the names ofa_l_lparties must appear in the caption.
The court may nol consider a claim against anyone not identified in this section as a defendant Ifyou have more than six defendantsl
you may continue this section on another sheet ofpaper ifyou indicate below thatyou have done so.

 

 

 

 

 

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3. @~r:eece "\%l'io¢} léccir'\rl<'ir\ G;oca~let" 6.

 

2. STATEMENT OF JURlSDICTION

This is a civil action seeking relief and/or damages to defend and protect the rights guaranteed by the Constitution of the
United States. This action is brought pursuant to 42 U.S.C. § 1983. Tl)e Couxt has jurisdiction over the action pursuant to
28 U.S.C. §§ 1331, 1343(3) and (4), and 220l. '

 

3. PARTIES TO THIS ACTION
PLAINTIFF’s INFORMATION NOTE; 70 nn additionazpzaimi]ys, use am format on another sheet afpaper.
Name and Prisoner Nuniber of Plaintiff: \ ;\(\\{\ C~\Q;<\Cl winn ”l`&` :2.12~(0‘21"24`"3;
Present Place of Confinement & Address: l`?zgz (<S, {>\‘\{(Y\ <'_`»t \\l(\ CWQ. t ’\Z\Q»C;s\/W~s}r~n»r \\\i t \'\\§m\kti

 

 

Name and Prisoner Number of Plaintiff:

 

Present Place of Confinement & Address:

 

 

 

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DEFENDANT’S INFORl\/fATlON NOTEZ To provide information about more defendants than there is room for here, use this

format on another sheet ofpaper. '

Name ofDefendant: \/\l'il`\:`t“&t‘ C) C,CA t`\f)©t’\&li

(lf applicable) Official Position ofDefendant:`/l?”i€sol%"\§\r<s” :\/\\l€%it \,C\t)cv]t"fi”‘ 130 l iCn § ,q`@d‘,
(lf applicable) Defendant is Sued in _L_lndividual and/or ¢J§<*_(Official Capaeity

Address Of Defendant: \<ti §§ ,l“`:>t<‘\/\ot/~%Cj»a l,m\v Ci \- l)"io<\t"\~ \\\,\:\(. \Ktie\’\l,

 

Name ot`Defendant: @€>totn("imr\ @i(zcj; e("

(lf applicable) Official Position of Defendant: Gim':e (‘¢Q r\><‘;\'\<;ei Clt@£\’(‘~et*’

(lf applieable) Defendant is Sued in ’><_lndividual and/or _X_Official Capacity
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Naine of Defendant: C l”i’\n (?)Q l \AGQ \H n S“\KQ(\
(lf applicable) Offrcial Position ohDefendant:
(lf applicable) Defendant is Sued in _§élndividual and/or l/>`__Official Capacity
Address Of D€fendantr i’?)(:l <'.lfletrc l/\ is\~~» C"’ tier l~\€\\l
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4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
Yes No ><

If Yes, complete the next section NOTE: ]f you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

 

 

 

 

 

 

1. Narne(s) of the parties to this other lawsuit
Plaintiff(s):
Defendant(s):
2. Court (if federal court, name the district; if state couit, name the county):
3. Docket or Index Number:
4. Name of Judge to Whom case was assigned'.

 

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5. The approximate date the action was iiled:
6. What was the disposition ofthe case?
ls it still pending? Yes No

 

lfnot, give the approximate date it was resolved

 

Disposition (check the statements which apply):
Dismissed (checl< the box which indicates why it was dismissed):

By court sua sponte as trivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court

order;

W_ By court due to your voluntary withdrawal of claim;

w Judgment upon motion or after trial entered for
__»_ plaintiff

defendant

B. Have you begun any other lawsuits in federal court which relate to your imprisonment?

Yes No §§

If Yes complete the next section NOTE: Ifyoa have brought more than one other lawsuit dealing with your imprisomnent,
use this same format to describe the other action (s) on another sheet ofpaper.

 

 

 

 

 

 

 

 

 

l . Name(s) of the parties to this other lawsuit
Plaintiff(s);
Defendant(s):
2. District Court:
3 . Docket Number:
4. Name ofDistrict or l\/Iagistrate Judge to whom case was assigned:
5. The approximate date the action was tiled:
6. What was the disposition of the case?
ls it still pending? Yes No

lf not, give the approximate date it was resolved

 

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Disposition (cliecl< the statements which apply):
Dismissed (clieck the box which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be graiited;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court

order;

___ By court due to your voluntary withdrawal of claim;

___ ludgment upon motion or after trial entered for
m plaintiff

M defeiidant.

 

5. STATEMENT OF CLAIl\/l

For your information, the following is a list of some of the most frequently raised grounds for relief in proceedings under 42
U.S.C. § 1983. (This list does not include a_ll possible claims.)

~ Religion - Access to the Courts * Search & Seizure

' Free Speech ‘ False Arrest ~ Malicious Prosecution

~ Due Process ° Excessive Force ' Denial of l\/ledical Treatinent
' Equal Protection ' Failure to Protect ' Right to Counsel

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. ln other words, tell the story of what happened to you but do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial.“ Simmons v. Abruzzo, 49 F.3d 83, 86 (Zd Cir. 1995).
Fed.R.Civ.P. 10(b) states that “[a]ll averments of claim shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

 

Exhaustion of Administrative Remedies

Note that according to 42 U.S.C. § l997e(a), “[n]o action shall be brought with respect to prison conditions under section
1983 of this title, or any other Federal law, by a prison er confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

You must provide information about the extent of your efforts to grieve, appeal, or otherwise exhaust your administrative
remedies, and you must attach copies of any decisions or other documents which indicate that you have exhausted your
remedies for each claim you assert in this action.

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A. FIRST CLAll\/l: On (date oftlie incident) @l\l l\,l(;\t(im\:}<a`t`\ 3© z(’,‘ l 113

defendant (give the name and position held of each defendant involved in this incident)
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The constitutional basis for this claim under 42 U. S. C § 1983 is: \/\ 3\ <yl ran \,l § (\¢31\3_ L~l wornle field
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The1elieflam seeking for this claim is (biietly state the relief sought): ( mm r:@n<'yil mc\i,' (ylcm»-,(, M <
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Exhaustion of Your Administrative Remedies for this Claim

Did you grieve or appeal this claim? X Yes No lf yes, what was the result? <§l{ll qpr;),/p/lim;

Did you appeal that decision'? s §§ No lf yes, what was the result?

 

Attach copies of any documents that indicate that you have exhausted this claim

If you did not exhaust your'adininistrative remedies, state why you did not do so <¢l:§ll \i`)t&i(\/‘ll W~”\ '
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A SECOND CLAIM: On(date oftheincident) l>QC , a \) 2 <‘“ l§ W

defendant (give the name and position held of each defendant involved in this incident) Wl.t\\l'€§>l \<’>mil/<f \\lf ll facial
erh)o/\el 61in 619 reece l) el\rc»e Ole accretion C:ioolg("

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did the fol llowiiig to i11e (biiei1y state what each c 1efei1daiit named above did):

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The constitutional basis for this claim uiidei' 42 U S C §1983 is: \/§(\1@,11m 11 3 6411/13‘1~£¢1~-11/\ 111/mud 1::¢511-1~ § V1`g12, EL,
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Exhaustion of Youi' Admiiiisti'ative Remedies for this Claim
Did you grieve or appeal this claini? gi Yes No

lt yes, what was the i‘esult? 2314 1 1 1314/101 1'./)“
Did you appeal that decisioii?

Yes No lf yes, what was the i'esult?

 

Attach copies of any documents that indicate that you have exhausted this claim
lf you did iiot exhaust your administrative i‘eiiiedies, state why you did hot do so

 

Ifyou have additional claims, use the above format and set them out on additional sheets of paper

' 6. RELIEF SOUGHT

Summa)ize the reliefrequestea' by you in each statement ofclai'm above

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Do you want ajurytrial? Yes g No

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§ declare under penalty of perjury that the foregoing is true and correct

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Signature(s) of Plaintiff(s)

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